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            New York State Chartered Ins tu ons as of December 31, 2012
             Name                                      Street Address                 City/State/Zip            Domes c Oﬃces Charter Date
             Commercial Banks
             Adirondack Bank                           185 Genesee Street             U ca, NY 13501                  18          December 30, 2003
             Alden State Bank                          13216 Broadway                 Alden, NY 14004                 2           September 30, 1916
             Alma Bank                                 28-31 31st Street              Astoria, NY 11102               13          September 12, 2007
             Alpine Capital Bank                       680 Fi h Avenue                New York, NY 10019              1           February 29, 2000
             Amerasia Bank                             41-04/41-06 Main Street        Flushing, NY 11355              2           February 16, 1988
             American Community Bank                   300 Glen Street                Glen Cove, NY 11542             4           October 20, 1999
             Bank of Akron                             46 Main Street                 Akron, NY 14001                 6           December 31, 1919
             Bank of Ca araugus                        24 Main Street                 Ca araugus, NY 14719            1           March 30, 1892
             Bank of Holland                           12 South Main Street           Holland, NY 14080               2           October 21, 1893
             Bank Leumi USA                            579 Fi h Avenue                New York, NY 10017              14          July 15, 1968
             Berkshire Bank Municipal Bank             41 State Street                Albany, NY 12207                1           August 29, 2005
             BPD Bank                                  90 Broad Street                New York, NY 10004              1           January 24, 1986
             Catskill Hudson Bank                      4438 Route 42 North            Thompson, NY 12701              12          July 27, 1993
             Ca araugus County Bank                    116-120 Main Street            Li le Valley, NY 14755          8           January 2, 1902
             Ci zens Bank of Cape Vincent              P.O. Box 277, 154 Broadway     Cape Vincent, NY 13618          3           September 11, 1919
             Country Bank                              200 East 42nd Street           New York, NY 10017              6           April 20, 1988
             Emigrant Mercan le Bank                   6 East 43rd Street             New York, NY 10017              1           July 9, 2004
             Empire State Bank                         68 North Plank Road            Newburgh, NY 12550              3           March 9, 2009
             First American Interna onal Bank          5503 8th Avenue                Brooklyn, NY 11220              9           October 15, 1999
             Flushing Commercial Bank                  144-51 Northern Boulevard      Flushing, NY 11354              11          May 1, 2007
             Genesee Regional Bank                     3380 Monroe Avenue             Pi sford, NY 14618              4           August 8, 1985
             Global Bank                               30 East Broadway               New York, NY 10002              1           February 28, 2007
             Gold Coast Bank                           2929 Expressway Drive North    Islandia, NY 11749              5           February 28, 2008
             Greene County Commercial Bank             425 Main Street                Catskill, NY 12414              1           May 20, 2004
                                                                                      Garden City Park, NY
             Hanover Community Bank                    2131 Jericho Turnpike                                          1           November 4, 2008
                                                                                      11040
             Interaudi Bank                            19 East 54th Street            New York, NY 10022              2           June 6, 1983
             Jeﬀ Bank                                  4864 State Route 52            Jeﬀersonville, NY 12748         11          December 21, 2012
             New York Commercial Bank                  One Suﬀolk Square              Islandia, NY 11749              39          November 13, 1989
             Newbank                                   146-01 Northern Boulevard      Flushing, NY 11354              3           August 17, 2006
             Pathﬁnder Commercial Bank                 214 West First Street          Oswego, NY 13126                1           October 23, 2002
             Pioneer Commercial Bank                   21 Second Street               Troy, NY 12180                  1           November 15, 2004
             Provident Municipal Bank                  400 Rella Boulevard            Montebello, NY 10927            2           April 18, 2002
             PCSB Commercial Bank                      Route 6 & Drewville Road       Brewster, NY 10509              1           December 20, 2001
                                                                                      Poughkeepsie, NY
             Riverside Bank                            11-13 Garden Street                                            4           February 12, 1988
                                                                                      12602
             Savoy Bank                                1675 Broadway                  New York, NY 10019              1           January 15, 2008
             Shinhan Bank America                      330 Fi h Avenue                New York, NY 10001              15          October 10, 1990
             Signature Bank                            565 Fi h Avenue                New York, NY 10017              26          April 5, 2001
             Spring Bank                               69 East 167th Street           Bronx, NY 10452                 2           October 25, 2007
             State Bank of Chi enango                  519 Genesee Street             Chi enango, NY 13037            1           February 23, 1923
             The Berkshire Bank                        4 East 39th Street             New York, NY 10016              10          May 4, 1989
             Tioga State Bank                          Main & Tioga Streets           Spencer, NY 14883               11          March 22, 1884
             United Interna onal Bank                  41-60 Main Street              Flushing, NY 11355              1           December 22, 2005
             United Orient Bank                        10 Chatham Square              New York, NY 10038              3           May 7, 1980
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USNY Bank                              389 Hamilton Street           Geneva, NY 14456           2     July 27, 2007
Victory State Bank                     4142 Hylan Boulevard          Staten Island, NY 10308    5     November 13, 1997
Westchester Bank, The                  2001 Central Park Avenue      Yonkers, NY 10710          3     June 11, 2008
Woori America Bank                     1250 Broadway                 New York, NY 10001         18    January 20, 1984
WSB Municipal Bank                     111 Clinton Street            Watertown, NY 13601        1     June 30, 2003
                                                                                               293
Trust Companies
Amalgamated Bank                       275 Seventh Avenue            New York, NY 10001         24    March 16, 1923
Banco Popular North America            11 West 51st Street           New York, NY 10019        121    January 1, 1999
Bank of Millbrook                      Franklin Avenue               Millbrook, NY 12545        4     March 14, 1891
                                                                     Richmondville, NY
Bank of Richmondville                  5 East Main Street                                       3     December 8, 1893
                                                                     12149
Bank of U ca                           220-222 Genesee Street        U ca, NY 13502            1      September 30, 1958
Chemung Canal Trust Company            One Chemung Canal Plaza       Elmira, NY 14901          28     July 10, 1902
Deutsche Bank Trust Company
                                       60 Wall Street                New York, NY 10005         3     March 24, 1903
Americas
Fiduciary Trust Company Interna onal   600 Fi h Avenue               New York, NY 10020        1      November 17, 1930
Five Star Bank                         55 North Main Street          Warsaw, NY 14569          55     February 14, 1902
Habib American Bank                    99 Madison Avenue             New York, NY 10016        7      November 7, 1983
Israel Discount Bank of New York       511 Fi h Avenue               New York, NY 10017        11     July 17, 1922
Manufacturers and Traders Trust
                                       One M & T Plaza               Buﬀalo, NY 14240          801    June 27, 1893
Company
Mitsubishi UFJ Trust & Banking
                                       420 Fi h Avenue               New York, NY 10018         1     March 24, 1986
Corpora on (USA)
Mizuho Corporate Bank (USA)            1251 Avenue of the Americas   New York, NY 10020        2      November 29, 1974
Mizuho Trust & Banking Co. (USA)       135 West 50th Street          New York, NY 10020        1      October 22, 1987
Orange County Trust Company            212 Dolson Avenue             Middletown, NY 10940      9      May 3, 1892
Solvay Bank                            1537 Milton Avenue            Solvay, NY 13209          8      March 20, 1917
Steuben Trust Company                  One Steuben Square            Hornell, NY 14843         14     December 31, 1919
                                                                     Saratoga Springs, NY
The Adirondack Trust Company           473 Broadway                                            12     September 19, 1901
                                                                     12866
The Bank of Cas le                     50 North Main Street          Cas le, NY 14427           18    August 2, 1917
The Bank of New York                   One Wall Street               New York, NY 10005         5     February 16, 1871
The Goldman Sachs Trust Company        200 West Street               New York, NY 10282         2     August 20, 1990
Tompkins Trust Company                 110 North Tioga Street        Ithaca, NY 14850           13    September 18, 1891
                                                                                               1144
Limited Purpose Trust Companies
American Stock Transfer & Trust
                                       6201 15th Avenue              Brooklyn, NY 11219         1     December 31, 1987
Company, LLC
Anthos Trust Company, LLC              277 Park Avenue               New York, NY 10172         1     September 9, 2008
Con nental Stock Transfer & Trust
                                       17 Ba ery Place               New York, NY 10004         1     May 1, 1974
Company
                                                                     Town of Pi sford, NY
Genesee Valley Trust Company           1221 Pi sford Victor Road                                1     March 30, 1994
                                                                     14534
Law Debenture Trust Company of New
                                     400 Madison Avenue              New York, NY 10017         1     May 8, 2002
York
Market Street Trust Company          80 East Market Street           Corning, NY 14830          1     November 17, 1987
New York Life Trust Company          51 Madison Avenue               New York, NY 10010         2     March 9, 1995
OFI Trust Company                    2 World Financial Center        New York, NY 10281         1     April 14, 1988
The Bank of Nova Sco a Trust Company
                                     One Liberty Plaza               New York, NY 10006         1     June 22, 1959
of New York
The Depository Trust Company         55 Water Street                 New York, NY 10041         1     May 11, 1973
The Northern Trust Company of New
                                     65 East 55th Street             New York, NY 10022         1     June 29, 1989
York
The Warehouse Trust Company LLC      55 Water Street                 New York, NY 10041        1      March 1, 2010
                                                                                               13
Private Bankers
Brown Brothers Harriman & Co.          140 Broadway                  New York, NY 10005         9     June 15, 1934

Savings Banks
Apple Bank For Savings                 1395 Northern Boulevard       Manhasset, NY 11030       56     April 17, 1863
                                                                     Middle Village, NY
Cross County Savings Bank              79-21 Metropolitan Avenue                                7     March 22, 2012
                                                                     11379
CMS Bank                               40 East First Street          Mount Vernon, NY           5     June 29, 2012
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                                                                     10550
Dime Savings Bank of Williamsburgh,
                                        209 Havemeyer Street         Brooklyn, NY 11211        26    June 29, 2012
The
Elmira Savings Bank                     333 East Water Street        Elmira, NY 14901           14   December 31, 2011
Emigrant Bank                           5 East 42nd Street           New York, NY 10017         31   April 10, 1850
Fairport Savings Bank                   45 South Main Street         Fairport, NY 14450         5    June 29, 2012
First Central Savings Bank              70 Glen Street               Glen Cove, NY 11542        9    March 31, 1999
Fulton Savings Bank                     75 South First Street        Fulton, NY 13069           8    January 1, 1871
New York Community Bank                 136-65 Roosevelt Avenue      Flushing, NY 11354        267   April 14, 1859
NorthEast Community Bank                325 Hamilton Avenue          White Plains, NY 10601     9    June 29, 2012
Oneida Savings Bank                     182 Main Street              Oneida, NY 13421           11   February 19, 1866
Pathﬁnder Bank                          214 West First Street        Oswego, NY 13126           8    March 4, 1859
Pioneer Savings Bank                    21 Second Street             Troy, NY 12180             17   July 1, 1972
Putnam County Savings Bank              Route 6 & Drewville Road     Brewster, NY 10509         10   July 1, 1972
Rhinebeck Bank                          6414 Montgomery Street       Rhinebeck, NY 12572        11   April 12, 1860
Ridgewood Savings Bank                  71-02 Forest Avenue          Ridgewood, NY 11385        57   May 18, 1921
Rondout Savings Bank                    300 Broadway                 Kingston, NY 12401         5    January 1, 1868
Sawyer Savings Bank                     87 Market Street             Sauger es, NY 12477        3    July 1, 1972
The North Country Savings Bank          127 Main Street              Canton, NY 13617           5    March 9, 1909
Ulster Savings Bank                     280 Wall Street              Kingston, NY 12401         14   April 12, 1851
Watertown Savings Bank                  111 Clinton Street           Watertown, NY 13601        11   October 2, 1893
                                                                                               589
Savings & Loans
Medina Savings and Loan Associa on      11182 Maple Ridge Road       Medina, NY 14103           2    March 20, 1888

Credit Unions
AmeriCU Credit Union                    1916 Black River Boulevard   Rome, NY 13440            11    May 1, 2000
Branch 6000 NALC Credit Union           630 Broadway                 Amityville, NY 11701      1     October 10, 1973
Buﬀalo Service Credit Union             130 South Elmwood Avenue     Buﬀalo, NY 14202          4     February 27, 1933
CFCU Community Credit Union             1030 Cra Road                Ithaca, NY 14850          8     December 1, 1997
Directors Choice Credit Union           426 New Karner Road          Albany, NY 12205          1     January 5, 2000
Empire Branch 36 Na onal Associa on
                                        347 West 41st Street         New York, NY 10036         1    February 3, 1939
of Le er Carriers Credit Union
Empire State Credit Union               45 Kennedy Drive             Spring Valley, NY 10977    1    August 30, 1920
Encompass Niagara Credit Union          2525 Military Road           Niagara Falls, NY 14304    1    May 3, 1934
Erie County Employees Credit Union      95 Franklin Street           Buﬀalo, NY 14202           1    March 13, 1940
Hudson River Community Credit Union     312 Palmer Avenue            Corinth, NY 12822          1    March 23, 1998
Jamestown Post Oﬃce Employees'
                                        300 East Third Street        Jamestown, NY 14701        1    November 30, 1928
Credit Union
Melrose Credit Union                    139-30 Queens Boulevard      Briarwood, NY 11435       1     May 27, 1922
Montauk Credit Union                    111 West 26th Street         New York, NY 10001        2     March 20, 1922
Municipal Credit Union                  22 Cortlandt Street          New York, NY 10007        11    November 15, 1916
Newspaper Employees Credit Union        645 Albany Shaker Road       Albany, NY 12211          1     May 31, 1933
Niagara Falls Penn Central Employees
                                        8612 Buﬀalo Avenue           Niagara Falls, NY 14304    1    January 12, 1939
Credit Union
Norton-Troy Employees Credit Union      2600 10TH Avenue             Watervliet, NY 12189       1    March 3, 1939
Progressive Credit Union                370 Seventh Avenue           New York, NY 10001         2    July 15, 1918
The Niagara Fron er Federal
                                        615 Main Street              Niagara Falls, NY 14302    1    February 5, 1931
Employees Credit Union
Yonkers Postal Employees Credit Union   79-81 Main Street            Yonkers, NY 10702         1     March 26, 1934
                                                                                               52
Safe Deposit Companies
Akron Safe Deposit Company              46 Main Street               Akron, NY 14001            1    October 24, 1926
                                                                     Great Neck Plaza, NY
Zurich Depository Corpora on            11 Middle Neck Road                                     1    October 27, 1983
                                                                     11021

Investment Companies (Ar cle XII)
American Express Banking Corp      American Express Tower WFC        New York, NY 10285         1    April 1, 1998
Community Building Fund, LLC       2100 Middle Country Road          Centereach, NY 11720       1    October 31, 2005
Fiduciary Investment Corpora on    600 Fi h Avenue                   New York, NY 10020         1    February 27, 1970
French American Banking Corpora on 787 Seventh Avenue                New York, NY 10019         3    May 21, 1919
GE Capital Interna onal Financing
                                   299 Park Avenue                   New York, NY 10017         1    November 13, 2000
Corpora on
Sterling Banking Corpora on        650 Fi h Avenue                   New York, NY 10019         1    August 30, 1951
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Western Union Financial Holdings,        199 Water Street              New York, NY 10038      1    November 2, 2005
L.L.C.
                                                                                               9
Licensed Lenders
AmeriCredit Consumer Loan Company,
                                         4001 Embarcadero Drive        Arlington, TX 76014     1    July 5, 2006
Inc.
AmeriCredit Financial Services, Inc.
U/A/N GM Financial U/A/N GMC             4001 Embarcadero Drive        Arlington, TX 76014     1    July 8, 2002
Financial
Beneﬁcial New York Inc.                  26525 North Riverwoods Blvd. Me awa, IL 60045         1    July 31, 2005
Capital Financial Services, Inc.         961 Weigel Drive             Elmhurst, IL 60126       1    June 28, 2005
CarFinance Capital LLC U/A/N                                          Newport Beach, CA
                                         620 Newport Center Drive                              1    November 30, 2011
CarFinance.com                                                        92660
Ci Financial, Inc.                       300 St. Paul Place           Bal more, MD 21202       4    November 10, 1988
Household Finance Corpora on III         26525 North Riverwoods Blvd. Me awa, IL 60045         1    December 31, 1984
JCB Interna onal Credit Card Co., Ltd.   700 South Flower Street      Los Angeles, CA 90017    1    December 17, 2002
Mariner Finance, LLC                     3301 Boston Street           Bal more, MD 21224       6    August 16, 2012
Mercedes-Benz Financial Services USA                                  Farmington Hills, MI
                                         36455 Corporate Drive                                 1    September 25, 2007
LLC                                                                   48331
New City Funding Corpora on              146 South Liberty Drive      Stony Point, NY 10980    1    June 14, 2006
Omni Financial of New York, Inc.         26000 US Rt. 11              Evans Mills, NY 13637    1    August 2, 2007
OneMain Financial, Inc.                  300 St. Paul Place           Bal more, MD 21202       40   June 23, 2011
Retail Charge Financial Services Corp.   2650 Merrick Road            Bellmore, NY 11710       1    April 18, 1995
Santander Consumer USA Inc.
Santander Auto Finance,dba               8585 N. Stemmons Freeway      Dallas, TX 75247        1    April 28, 2010
Roadloans,dba
Springleaf Financial Services of New
                                         601 N.W. Second Street        Evansville, IN 47701    2    April 4, 1962
York, Inc.
Stones Funding LLC                       2463 Broadway                 New York, NY 10025      1    November 21, 2007
Sunrise Capital Management, Inc.         260 Airport Plaza             Farmingdale, NY 11735   1    June 27, 2007
TMG Financial Services, Inc.             1500 NW 118th Street          Des Moines, IA 50325    1    November 5, 2008
                                                                                               67
Foreign Branches
Agricultural Bank of China Limited       277 Park Avenue               New York, NY 10172      1    June 15, 2012
Allied Irish Banks, p.l.c.               1166 Avenue of the Americas   New York, NY 10036      1    December 12, 1977
Banca Monte dei Paschi di Siena S.p.A.   55 East 59th Street           New York, NY 10022      1    February 4, 1983
Banco de La Nacion Argen na              230 Park Avenue               New York, NY 10169      1    August 21, 1973
Banco do Brasil, S.A.                    535 Madison Avenue            New York, NY 10022      1    March 25, 1969
Banco Bilbao Vizcaya Argentaria, S.A.    1345 Avenue of the Americas   New York, NY 10105      1    October 1, 1988
Banco Del Estado de Chile                400 Park Avenue               New York, NY 10022      1    July 25, 2005
Banco Espirito Santo de
                                         340 Madison Avenue            New York, NY 10173      1    January 29, 2009
Inves mento,S.A
Banco Espirito Santo, S.A.               320 Park Avenue               New York, NY 10022      1    May 6, 1988
Banco Popular de Puerto Rico             120 Broadway                  New York, NY 10271      2    January 1, 1999
Banco Santander, S.A.                    45 East 53rd Street           New York, NY 10022      1    April 12, 1977
Bank of Baroda                           One Park Avenue               New York, NY 10016      1    December 4, 1978
Bank of India                            277 Park Avenue               New York, NY 10172      1    December 1, 1978
Bank of Montreal                         3 Times Square                New York, NY 10036      1    September 1, 1911
Bank of Scotland plc                     1095 Avenue of the Americas   New York, NY 10036      1    September 20, 2011
Bank of Taiwan                           100 Wall Street               New York, NY 10005      1    May 3, 1990
Bank Hapoalim B.M.                       1177 Avenue of the Americas   New York, NY 10036      2    November 19, 1974
Barclays Bank PLC                        745 Seventh Avenue            New York, NY 10019      2    September 1, 1911
BNP Paribas                              787 7th Avenue                New York, NY 10019      1    November 3, 1976
Caixa Geral de Depositos, S.A.           733 Third Avenue              New York, NY 10017      1    May 7, 1999
Chang Hwa Commercial Bank, Ltd.          685 Third Avenue              New York, NY 10017      1    August 4, 1989
China Construc on Bank Corpora on        1095 Avenue of the Americas   New York, NY 10036      1    February 18, 2009
China Mer
       Merchants Bank Co., Ltd           535 Madison Avenue            New York, NY 10022      1    July 14, 2008
Chinatrust Commercial Bank, Ltd.         366 Madison Avenue            New York, NY 10017      1    December 25, 1998
Commerzbank Ak engesellscha              2 World Financial Center      New York, NY 10281      1    August 20, 1971
Coopera eve Centrale Raiﬀeisen-
Boerenleenbank B.A., Rabobank            245 Park Avenue               New York, NY 10167      1    December 19, 1995
Nederland
Credit Agricole Corporate and
                                         1301 Avenue of the Americas   New York, NY 10019      1    December 5, 1979
Investment Bank
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Credit Industriel et Commercial      520 Madison Avenue                New York, NY 10022    1   December 10, 1991
Credit Suisse AG                     11 Madison Avenue                 New York, NY 10010    1   April 8, 1940
Depfa Bank plc                       622 Third Avenue                  New York, NY 10017    1   June 26, 2003
Deutsche Bank AG                     60 Wall Street                    New York, NY 10005    4   July 15, 1978
Dexia Credit Local                   445 Park Avenue                   New York, NY 10022    1   November 5, 1990
DNB Bank ASA                         200 Park Avenue                   New York, NY 10166    1   January 19, 2004
DZ Bank AG Deutsche Zentral-
                                     609 Fi h Avenue                   New York, NY 10017    1   November 22, 1976
Genossenscha sbank
First Commercial Bank, Ltd.          750 Third Avenue                  New York, NY 10017    1   October 5, 1989
For s Bank S.A./N.V.                 787 Seventh Avenue                New York, NY 11019    1   November 15, 2002
Habib Bank Limited                   60 East 42nd Street               New York, NY 10165    1   February 19, 1971
Hypothekenbank Frankfurt AG          1301 Avenue of the Americas       New York, NY 10019    1   December 17, 2002
HSH Nordbank AG                      230 Park Avenue                   New York, NY 10169    1   September 24, 2002
Industrial and Commercial Bank of
                                     725 Fi h Avenue                   New York, NY 10022    1   September 16, 2008
China Limited
Industrial Bank of Korea             1250 Broadway                     New York, NY 10001    1   November 1, 1990
Intesa Sanpaolo S.p.A.               1 William Street                  New York, NY 10004    3   April 19, 2000
Itau Unibanco S.A.                   767 5th Avenue                    New York, NY 10153    1   October 2, 1979
Kookmin Bank                         565 Fi h Avenue                   New York, NY 10017    2   January 4, 1999
KBC Bank N.V.                        1177 Avenue of the Americas       New York, NY 10036    1   June 4, 1998
Land Bank of Taiwan Co., Ltd         100 Wall Street                   New York, NY 10005    1   November 23, 2010
Landesbank Baden - Wur emberg        280 Park Avenue                   New York, NY 10017    1   December 1, 1998
Landesbank Hessen - Thuringen
                                     420 Fi h Avenue                   New York, NY 10018    1   January 2, 1981
Girozentrale
Lloyds TSB Bank plc                  1095 Avenue of the Americas       New York, NY 10036    1   October 1, 1971
Malayan Banking Berhad               400 Park Avenue                   New York, NY 10022    1   March 28, 1984
Mashreq Bank psc                     50 Broadway                       New York, NY 10004    1   January 24, 1989
Mega Interna onal Commercial Bank
                                     59-65 Liberty Street              New York, NY 10005    1   April 2, 1936
Co., Ltd.
Mitsubishi UFJ Trust and Banking
                                     520 Madison Avenue                New York, NY 10022    1   December 11, 1973
Corpora on
Mizuho Corporate Bank, Ltd.          1251 Avenue of the Americas       New York, NY 10020    3   August 22, 1956
Na onal Bank of Canada               65 East 55th Street               New York, NY 10022    1   November 1, 1979
Na onal Bank of Egypt                40 East 52nd Street               New York, NY 10022    1   December 6, 2000
Na onal Bank of Pakistan             100 Wall Street                   New York, NY 10005    1   July 23, 1964
Na xis                               1251 Avenue of the Americas       New York, NY 10020    2   December 22, 1976
Norddeutsche Landesbank Girozentrale 1114 Avenue of the Americas       New York, NY 10036    1   February 15, 1991
Nordea Bank Finland Plc              437 Madison Avenue                New York, NY 10022    1   October 1, 2001
Nordea Bank Norge ASA                437 Madison Avenue                New York, NY 10022    1   April 11, 1987
Philippine Na onal Bank              30 Broad Street                   New York, NY 10004    1   February 3, 1917
Por gon AG                           7 World Trade Center              New York, NY 10007    2   August 11, 1975
Shinhan Bank                         600 Third Avenue                  New York, NY 10016    1   April 1, 2006
Skandinaviska Enskilda Banken        245 Park Avenue                   New York, NY 10167    1   October 9, 1987
Societe Generale                     1221 Avenue of the Americas       New York, NY 10020    1   November 8, 1978
Standard Chartered Bank              1095 Avenue of the Americas       New York, NY 10036    2   May 25, 1976
State Bank of India                  460 Park Avenue                   New York, NY 10022    1   November 26, 1971
                                                                       Jackson Heights, NY
State Bank of India                    37-20 74th Street                                     1   February 28, 2011
                                                                       11372
Sumitomo Mitsui Banking Corpora on 277 Park Avenue                     New York, NY 10172    1   March 17, 2003
Svenska Handelsbanken AB                 875 Third Avenue              New York, NY 10022    1   May 8, 1987
Swedbank AB                              One Penn Plaza                New York, NY 10119    1   January 23, 1991
T.C. Ziraat Bankasi                      122 East 42 Street            New York, NY 10168    1   September 1, 1983
The Bank of Tokyo - Mitsubishi UFJ, Ltd. 1251 Avenue of the Americas   New York, NY 10020    1   October 2, 1952
The Chiba Bank, Ltd.                     1133 Avenue of the Americas   New York, NY 10036    1   March 3, 1987
The Gunma Bank, Ltd.                     780 Third Avenue              New York, NY 10017    1   January 20, 1988
The Korea Development Bank               320 Park Avenue               New York, NY 10022    1   April 1, 1997
The Norinchukin Bank                     245 Park Avenue               New York, NY 10167    1   July 8, 1984
The Royal Bank of Scotland N.V.          101 Park Avenue               New York, NY 10178    1   January 31, 1941
The Royal Bank of Scotland PLC           101 Park Avenue,              New York, NY 10178    1   June 6, 1985
The Shizuoka Bank, Ltd.                  600 Lexington Avenue          New York, NY 10022    1   May 5, 1989
The Shoko Chukin Bank                    666 Fi h Avenue               New York, NY 10103    1   October 11, 1986
The Sumitomo Trust and Banking
                                         527 Madison Avenue            New York, NY 10022    1   September 20, 1976
Company Limited
The Toronto-Dominion Bank                31 West 52nd Street           New York, NY 10019    1   February 28, 1919
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Turkiye Vakiﬂar Bankasi T.A.O.         680 Fi h Avenue              New York, NY 10019         1    December 3, 1991
United Bank Limited                    80 Broad Street              New York, NY 10004         1    April 5, 1977
UniCredit Bank AG                      150 East 42nd Street         New York, NY 10017         1    July 17, 1974
UniCredit S.p.A.                       150 East 42nd Street         New York, NY 10017         1    July 31, 1973
                                                                                              102
Foreign Agencies
Banco de Bogota                        375 Park Avenue              New York, NY 10152         1    March 6, 1974
Banco Industrial de Venezuela, C.A.    900 Third Avenue             New York, NY 10022         1    September 10, 1975
Banco La noamericano de Comercio
                                       370 Lexington Avenue         New York, NY 10017         1    November 4, 1988
Exterior, S.A.
Bank Leumi Le-Israel B.M.              562 Fi h Avenue              New York, NY 10036         1    September 2, 1959
Beogradska Banka dd                    c/o DFS, One State Street    New York, NY 10004         1    July 27, 1982
Canadian Imperial Bank of Commerce     300 Madison Avenue           New York, NY 10017         1    September 1, 1911
Hana Bank                              650 Fi h Avenue              New York, NY 10019         1    December 6, 1977
Hua Nan Commercial Bank, Ltd.          330 Madison Avenue           New York, NY 10017         1    June 8, 1990
Jugobanka dd                           c/o DFS, One State Street    New York, NY 10004         1    June 6, 1980
Oversea-Chinese Banking Corpora on
                                       1700 Broadway                New York, NY 10019         1    April 8, 1981
Limited
P.T. Bank Negara Indonesia (Persero)
                                       55 Broadway                  New York, NY 10006         1    August 3, 1983
Tbk
P.T. Bank Rakyat Indonesia (Persero)   140 Broadway                 New York, NY 10005        1     April 7, 1988
The Bank of Nova Sco a                 One Liberty Plaza            New York, NY 10006        1     September 1, 1911
United Overseas Bank Limited           592 Fi h Avenue              New York, NY 10036        1     September 8, 1976
Woori Bank                             245 Park Avenue              New York, NY 10167        1     March 3, 1976
                                                                                              15
Holding Companies - One Bank
Adirondack Bancorp, Inc.               185 Genesee Street           U ca, NY 13501             1    December 30, 2003
American Community Bancorp Inc.        300 Glen Street              Glen Cove, NY 11542        1    August 1, 2010
Apple Financial Holdings, Inc.         122 E. 42nd Street           New York, NY 10168         1    August 0, 0
Bank of New York Mellon Corpora on     One Wall Street              New York, NY 10286         1    July 1, 2007
Bank Leumi le-Israel Corp              579 Fi h Avenue              New York, NY 10014         1    December 24, 1984
Berkshire Bancorp Inc.                 160 Broadway                 New York, NY 10038         1    January 4, 1999
Brown Brothers Harriman & Co           140 Broadway                 New York, NY 10005         1    March 1, 1990
BPD Holding, Inc.                      90 Broad Street, 5th Floor   New York, NY 10004         1    May 1, 2005
C.C. Bancorp, Inc.                     116-120 Main Street          Li le Valley, NY 14755     1    July 16, 2001
Catskill Hudson Bancorp, Inc.          195 Lake Louise Marie Road   Rock Hill, NY 12775        1    July 31, 2006
CheckSpring Community Corpora on       69 East 167th Street         Bronx, NY 10452            1    October 25, 2007
Chemung Financial Corpora on           1 Chemung Canal Plaza        Elmira, NY 14901           1    June 1, 1985
Country Bank Holding Company, Inc.     200 East 42nd Street         New York, NY 10017         1    October 31, 2003
Discount Bancorp, Inc.                 511 Fi h Avenue              New York, NY 10017         1    March 23, 2000
ES Bancshares, Inc.                    68 North Plank Rd            Newburgh, NY 12550         1    March 9, 2009
Financial Ins tu ons, Inc.             220 Liberty Street           Warsaw, NY 14569           1    September 15, 1931
First American Interna onal Corp.      5503 Eighth Avenue            Brooklyn, NY 11220        1    July 30, 2004
Goldman Sachs Group Inc., The          85 Broad Street              New York, NY 10004         1    September 23, 2008
Greater Rochester Bancorp Inc.         3380 Monroe Avenue           Pi sford, NY 14618         1    January 2, 2008
Holland Bancorp, Inc.                  12 South Main Street         Holland, NY 14080          1    January 31, 2001
Jeﬀersonville Bancorp                  4866 State Rte 52            Jeﬀersonville, NY 12748    1    December 21, 2012
Millbrook Bank System, Inc.            Franklin Avenue              Millbrook, NY 12545        1    April 13, 1998
Northern Trust Corpora on              50 South LaSalle Street      Chicago, IL 60675          1    December 1, 1971
Orange County Bancorp, Inc.            212 Dolson Avenue            Middletown, NY 10940       1    May 17, 2007
Popular, Inc.                          208 Ponce de Leon Avenue     Hato Rey, PR 00918         1    August 1, 1985
Solvay Bank Corp.                      1537 Milton Avenue           Solvay, NY 13209           1    June 30, 1987
Steuben Trust Corpora on               One Steuben Square           Hornell, NY 14843          1    July 31, 1990
TSB Services Inc.                      One Main Street              Spencer, NY 14883          1    March 16, 1984
VSB Bancorp, Inc.                      4142 Hylan Boulevard         Staten Island, NY 10308    1    May 30, 2003
Westchester Bank Holding
                                       2001 Central Park Avenue      Yonkers, NY 10710         1    June 11, 2008
Corpora on,The
Wilmington Trust Corpora on            1100 North Market Street     Wilmington, DE 19801       1    May 16, 2011
                                                                    Saratoga Springs, NY
473 Broadway Holding Corp.             473 Broadway                                            1    June 17, 1926
                                                                    12866
                                                                                              32
Holding Companies - Mul Bank
Deutsche Bank Trust Corpora on         60 Wall Street               New York, NY 10005         1    May 31, 1966
Emigrant Bancorp, Inc.                 5 East 42nd Street           New York, NY 10017         1    November 8, 1994
            Case 1:13-cv-08012-CM-DCF Document 84-2 Filed 03/16/18 Page 8 of 8
M & T Bank Corpora on                  One M & T Plaza                       Buﬀalo, NY 14240                   1    December 31, 1969
Mitsubishi UFJ Financial Group, Inc.   2-7-1, Marunouchi Chiyoda-ku          Tokyo, JP 100                      1    March 1, 2001
Mizuho Financial Group, Inc.           1-5-5, Otemachi Chiyoda-ku            Tokyo, 100 JP                      1    March 6, 2003
New York Community Bancorp, Inc.       136-65 Roosevelt Avenue               Flushing, NY 11354                 1    November 23, 1993
New York Private Bank & Trust
                                       5 East 42nd Street                    New York, NY 10017                 1    December 10, 2003
Corpora on
Oneida Financial Corp.                 182 Main Street                       Oneida, NY 13421                   1    December 30, 1998
The Depository Trust & Clearing
                                       55 Water Street                       New York, NY 10041                 1    March 22, 1999
Corporat ion
Tompkins Financial Corpora on          110 North Tioga Street                Ithaca, NY 14850                   1    October 17, 1995
                                                                                                                10
Mutual Holding Companies
                                                                             Poughkeepsie, NY
Rhinebeck Bancorp, MHC                 2 Jeﬀerson Plaza                                                         1    October 6, 2004
                                                                             12601




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